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                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                    PEORIA DIVISION

 TEA L. THOMPSON,                                  )
                                                   )
                         Plaintiff,                )
          v.                                       ) Case No. 1:23-CV-01171
                                                   )
 AWS INC. D/B/A ARROW                              ) Hon. Michael M. Mihm
 WORKFORCE SOLUTIONS, INC,                         )
                                                   )
                         Defendant.                )

               DEFENDANT’S MOTION TO SET ASIDE DEFAULT JUDGMENT

         Defendant Arrow Workforce Solutions, Inc. (“Defendant” or “AWS”) moves to set aside

the default judgment entered against it on September 12, 2023, and strike the Evidentiary Hearing

currently set for October 18, 2023. In support, AWS states as follows:

         1.      This lawsuit arises under the Americans with Disabilities Act of 1990, as amended,

42 U.S.C.A. § 12101 et seq. (“ADA”), and Title VII of the Civil Rights Act of 1964, 42 U.S.C. §

2000e.

         2.      Plaintiff filed her Complaint on April 27, 2023, and the executed Summons on May

15, 2023.

         3.      This Court has since granted Plaintiff’s Entry of Default Judgment, and initially

scheduled an Evidentiary Hearing on the issue of damages for September 21, 2023. [Dkt. 11.]

         4.      Defendant recently learned about this lawsuit, and retained the undersigned

counsel’s law firm on September 20, 2023 to appear in this matter. The undersigned counsel filed

a Motion for Continuance of Evidentiary Hearing, and the evidentiary hearing was reset for

October 18, 2023. [Dkt. 14.]
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       5.      Through a diligent investigation, Defendant’s Vice President, Gabriel Fanous, has

learned that AWS never received a physical copy of the Complaint and Summons. See Declaration

of Denis Lane, ¶ 6, attached as Exhibit A. Furthermore, AWS’s Registered Agent in the State of

Florida (“Agent”) upon whom this lawsuit was served, forwarded the Complaint and the Summons

to an unmonitored AWS e-mail address. Id. As such, the e-mail did not place anyone at AWS on

notice regarding this lawsuit.

       6.      Entry of default may be set aside upon “good cause shown.” Fed.R.Civ.P. 55(c).

“In order to vacate an entry of default the moving party must show: (1) good cause for default; (2)

quick action to correct it; and (3) meritorious defense to plaintiff’s complaint.” E. Cent. Illinois

Pipe Trades Health & Welfare Fund v. Watkins, No. 05-1223, 2007 WL 9735915, at *3 (C.D. Ill.

Apr. 24, 2007).

       7.      Here, AWS is able to satisfy all three of the above-referenced elements. First,

Defendant has shown that there is good cause and it acted quickly to correct it. The reason for

AWS’s failure to answer the Complaint was due to the fact that it never received notice of the

lawsuit. As soon as Dennis Lane, AWS’s Vice President of US Operations, learned that the e-mail

he received from the District Courthouse pertained to a lawsuit, AWS began investigating and

retained counsel, who in turn filed an appearance and a Motion for Continuance of Evidentiary

Hearing. See Exhibit A, ¶ 5-6.

       8.      Defendant has been able to determine that it has a meritorious defense to Plaintiff’s

claim, thereby satisfying the third element referenced in the applicable standard for setting aside

the default judgment. While the investigation is ongoing, Defendant has several strong defenses to

the Complaint. First, Plaintiff does not allege—and is unlikely to be able to show—that Defendant

(an employment agency that placed Plaintiff at MacLellan Integrated Services (“MacLellan”))—



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controlled her working conditions. See Exhibit A, ¶ 7. Where a plaintiff fails to allege facts to

show enough control over plaintiff’s employment on the part of a temporary employment agency,

the agency is not deemed a “joint employer,” and claims against it should be dismissed. See, e.g.,

Shah v. Littelfuse Inc., No. 12 CV 6845, 2013 WL 1828926, at *3 (N.D. Ill. Apr. 29, 2013)

(dismissing claim against temporary agency due to Plaintiff’s failure to allege that agency

controlled his work conditions, and his conclusory allegation that agency was a joint employer

under Title VII could not withstand a Rule 12(b)(6) Motion). Furthermore, Plaintiff’s

discrimination and retaliation claims lack merit. AWS’s preliminary investigation has revealed

that Plaintiff was not a “qualified individual” with a disability under the ADA, and was not

harassed or terminated due to any discrimination, as she alleges; rather, she was terminated for

recurring performance and attendance issues. See Exhibit A, at ¶ 7.

       9.      Finally, Plaintiff filed a complaint against MacLellan with virtually identical

allegations as those leveled against AWS in the instant lawsuit. See Complaint from Tea L.

Thompson v. MacLellan Integrated Services, Inc., United States District Court, Central District of

Illinois Case No.: 22-cv-01374, attached as Exhibit B. Plaintiff makes no mention of AWS in that

lawsuit. AWS has learned that Plaintiff voluntarily dismissed that lawsuit against MacLellan in

December, 2021, after settling her claims against MacLellan. AWS believes it either should have

been joined in that lawsuit under Fed. R. Civ. Pro. 19, or it is entitled to a setoff against damages

it may owe Plaintiff even if AWS’s joinder in the aforementioned case was not mandatory and

Plaintiff can prove liability against AWS (which, as explained, Plaintiff is unlikely to be able to

do) in the amount received from MacLellan as a part of her settlement.




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       WHEREFORE, Defendant respectfully requests that the Default Judgment entered against

it be set aside, the Evidentiary Hearing set for October 18, 2023 be stricken, and a deadline be set

for Defendant to file an Answer or otherwise plead to the Complaint.



                                                 Respectfully submitted,

                                                 ARROW WORKFORCE SOLUTIONS, INC.

                                                 By: /s/ Sam Sedaei
                                                              One of Its Attorneys
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 Dated: October 16, 2023




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                                CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on this 16th day of October, 2023, the

foregoing DEFENDANT’S MOTION TO SET ASIDE DEFAULT JUDGMENT was filed

electronically with the Clerk of Court using the ECF system, which sent notification of such filing

to the following:


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                                                   /s/ Sam Sedaei
